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            1    KAPETAN BROTHERS
                 1236 “M” Street
            2    Fresno, CA 93721-1806
                 Telephone: (559) 498-0800
            3
            4    Peter N. Kapetan, #138068
            5    Attorneys for:   Plaintiff Kimberly Barsamian
            6
            7
            8                                   UNITED STATES DISTRICT COURT
            9                                  EASTERN DISTRICT OF CALIFORNIA
           10
           11    KIMBERLY BARSAMIAN,                                   Case No. 1:07-cv-00316 OWW/GSA_
           12
           13                                                          ORDER ALLOWING PLAINTIFF
                                  Plaintiff,                           KIMBERLY BARSAMIAN’S FILING
           14                                                          OF OPPOSITIONS TO AND
                         v.                                            DECLARATIONS OF PETER N.
           15                                                          KAPETAN IN SUPPORT OF
           16                                                          OPPOSITIONS TO MOTIONS IN
                 CITY OF KINGSBURG, MARTIN                             LIMINE FILED BY DEFENDANTS
           17    SOLIS, individually and in his official               CITY OF KINGSBURG AND MARTIN
                 capacity as a Police Officer for the City of          SOLIS UNDER SEAL
           18    Kingsburg Police Department, and DOES
                 1 through 100, inclusive.                             Date: February 20, 2009
           19
                                                                       Time: 12:15 PM
           20                     Defendants.                          Ctrm: 3
           21                                                          Trial Date: March 3, 2009
           22
                         On July 23, 2007, the Court entered a protective order related to certain documents
           23
                 based on a stipulation between the parties. (Document 16) In the Stipulation, Defendant City of
           24    Kingsburg indicated its belief that documents requested by Plaintiff Kimberly Barsamian
           25    including the personnel file of Martin Solis, contain information that is:
           26        1. Confidential, sensitive, or potentially invasive of an individual’s privacy interest as
                        protected by Article I, § 1 to the California Constitution;
           27
           28        2. Protected form disclosure pursuant to the provisions of California Penal Code§§ 832.5
                        and 832.7, as well as Evidence Code § 1045;
                                                                 1
                  ORDER ALLOWING PLAINTIFF KIMBERLY BARSAMIAN’S FILING OF OPPOSITIONS TO AND DECLARATIONS IN SUPOORT
                          OF OPPOSITIONS TO DEFENDANTS CITY OF KINGSBURG AND MARTIN SOLIS’ MOTIONS IN LIMINE

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                       3. Substantially and sufficiently dissimilar in nature so as to be irrelevant and not subject
            1             to production;
            2
                       4. Not generally known or available to the general public; and/or
            3
                       5. Not normally revealed to the public or third parties or, if disclosed to third parties
            4             would require such third parties to maintain the information in confidence.
            5
                          Pursuant to said stipulation and order, on January 9, 2009, Plaintiff Kimberly
            6    Barsamian, filed the following Oppositions to Defendant City of Kingsburg and Martin Solis’
            7    Motions in Limine:
            8
            9             1.      Plaintiff’s Memorandum Of Points And Authorities In Opposition To
                                  Defendant City Of Kingsburg And Defendant Martin Solis’ Motions To Admit
           10                     Evidence Of Pre And Post Incident Sexual History Of Plaintiff and Declaration
                                  of Peter N. Kapetan in Support Thereof;
           11
           12             2.      Plaintiff’s Memorandum Of Points And Authorities In Opposition To
                                  Defendant City Of Kingsburg’s Motion To Exclude Testimony From A.A.
           13                     Howsepian, M.D. On The Issue Of Future Damages On The Grounds That Such
                                  Opinions Are Speculative Or Lack Proper Foundation (Re: Defendant City Of
           14                     Kingsburg’s Motion In Limine No. 2) and Declaration of Peter N. Kapetan in
           15                     Support Thereof;

           16             3.      Plaintiff’s Memorandum Of Points And Authorities In Opposition To
                                  Defendant City Of Kingsburg’s Motion To Exclude Evidence Or Testimony Of
           17                     A Photocopy Entitled “Off Brothers” Or “Off Triplets” By Mr. Solis (Re:
           18                     Defendant City Of Kingsburg’s Motion In Limine No. 3) and Declaration of
                                  Peter N. Kapetan in Support Thereof;
           19
                          4.      Plaintiff’s Memorandum Of Points And Authorities In Opposition To
           20                     Defendant City Of Kingsburg’s Motion To Exclude Evidence Or Testimony
           21                     That Defendant Solis Solicited A Prostitute And Stole From An Employer Prior
                                  To Being Appointed As A Reserve Officer By The City Of Kingsburg (Re:
           22                     Defendant City Of Kingsburg’s Motion In Limine No. 4) and Declaration of
                                  Peter N. Kapetan in Support Thereof;
           23
           24             5.      Plaintiff’s Memorandum Of Points And Authorities In Opposition To
                                  Defendant City Of Kingsburg’s Motion To Exclude Evidence Or Testimony
           25                     That Defendant Solis Was Involved In A Prior Internal Affairs Investigation
                                  (Re: Defendant City Of Kingsburg’s Motion In Limine No. 6) and Declaration
           26                     of Peter N. Kapetan in Support Thereof; and
           27    ///

           28    ///

                                                                   2
                  ORDER ALLOWING PLAINTIFF KIMBERLY BARSAMIAN’S FILING OF OPPOSITIONS TO AND DECLARATIONS IN SUPOORT
                          OF OPPOSITIONS TO DEFENDANTS CITY OF KINGSBURG AND MARTIN SOLIS’ MOTIONS IN LIMINE

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                         6.     Plaintiff’s Memorandum Of Points And Authorities In Opposition To
            1                   Defendant Martin Solis’ Motion In Limine No. 1 To Exclude Lay And Expert
                                Testimony (Opinion) As To Whether Plaintiff Could Consent And/Or
            2
                                Consented To Oral Sex With Officer Martin Solis and Declaration of Peter N.
            3                   Kapetan in Support Thereof;

            4            Plaintiff Kimberly Barsamian has requested the court seal the above-entitled documents
            5    due to the sensitivity and nature of said documents not only with regard to privileged
            6    information concerning Plaintiff and as to Officer Solis.

            7                                               Legal Analysis
                         Plaintiff has asserted a constitutional right of privacy based on the California
            8
                 Constitution and protections from disclosure based on the California Evidence Code sections,
            9
                 as well as general objections that the documents are not generally known, available or revealed
           10
                 to the public. In federal question cases, privileges asserted in Federal Rules of Evidence, Rule
           11
                 501; United States v. Zolin, 491 U.S. 554 (1989); Kerr v. United States District Court for the
           12    Northen District of California, 511 F. 2d 192, 197 (9th Cir. 1975). Federal common law
           13    recognizes a qualified privilege for official information, also known as the governmental
           14    privilege, or the state secret privilege. Kerr, 511 F.2d at 198. The application of the official

           15    information privilege is “contingent upon the competing interests of the requesting litigant and

           16    subject to disclosure especially where protective measure are taken.” Id. Ana, 936 F. 2d 1027,
                 1033 (9th Cir. 1990) (finding city police personnel files not subject to discovery for general
           17
                 search). To determine whether the information sought is privileged, courts must “weigh the
           18
                 potential benefits of disclosure against the potential disadvantages.” Id. At 1033-1034.
           19
                         Further, with regard to the Plaintiff’s Opposition to Defendants’ Motion to Admit
           20    Evidence of Prior and Post-Incident Sexual Acts, Federal Rules of Evidence, Rule 412,
           21    codifies what is commonly referred to as “rape shield” protections. Rule 412 asserts the
           22    general concept that a victim’s “other sexual behavior” or “sexual predisposition” is not
           23    admissible in any civil proceeding. (Fed. Rules Evid., Rule 412(a).) An exception to this

           24    general prohibition applies only if the evidence is otherwise admissible and “…its probative
                 value substantially outweighs the danger of harm to any victim and of unfair prejudice to any
           25
                 party.” (Fed. Rules Evid., Rule 412(b)(2), emphasis added.)
           26
                         As set forth in the notes to Rule 412, “[t]he rule aims to safeguard the alleged victim
           27
                 against the invasion of privacy, potential embarrassment and sexual stereotyping that is
           28
                 associated with public disclosure of the intimate sexual details and the infusion of sexual
                                                                 3
                  ORDER ALLOWING PLAINTIFF KIMBERLY BARSAMIAN’S FILING OF OPPOSITIONS TO AND DECLARATIONS IN SUPOORT
                          OF OPPOSITIONS TO DEFENDANTS CITY OF KINGSBURG AND MARTIN SOLIS’ MOTIONS IN LIMINE

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                 innuendo into the fact-finding process. By affording victims protection in most instances, the
            1
                 rule also encourages victims of sexual misconduct to institute and to participate in legal
            2
                 proceedings against alleged offenders.” (See generally, Fed. Rules Evid., Rule 412, Notes of
            3    Advisory Committee on proposed 1994 amendment; see also, Alberts v. Wickes Lumber Co.,
            4    (N.D.Ill, 1995, 1995 WL 117886; S.M. v. J.K. (9th Cir. 2001, 262 F.ed 914, 919.)
            5            Federal Rule 412(c)(2) further states that:
            6            Before admitting evidence under this rule the court must conduct a hearing
            7            in camera and afford the victim and parties a right to attend and be heard.
                         The motion, related papers, and the record of the hearing must be sealed
            8            and remain under seal unless the court orders otherwise.
            9            After conducting an in camera review, the court finds that the above-mentioned
           10    documents are sensitive in nature and privileged under California Constitution, and should be
           11    filed under seal.
           12    Dated: February 19, 2009.

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           14
                         IT IS SO ORDERED.
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           16
           17                                   /s/ OLIVER W. WANGER
           18                        JUDGE OF THE UNITED STATED DISTRICT COURT

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                                                                 4
                  ORDER ALLOWING PLAINTIFF KIMBERLY BARSAMIAN’S FILING OF OPPOSITIONS TO AND DECLARATIONS IN SUPOORT
                          OF OPPOSITIONS TO DEFENDANTS CITY OF KINGSBURG AND MARTIN SOLIS’ MOTIONS IN LIMINE

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